  Case: 1:17-md-02804-DAP Doc #: 5705 Filed: 10/23/24 1 of 2. PageID #: 648895




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 BUTLER COUNTY BOARD OF                      : MDL No. 2804
 COMMISSIONERS, OHIO,                        : CASE NO. 17-MD-2804
                                             : Judge Dan Aaron Polster
                              Plaintiff,     :
                                             :
                                      v.     :
                                             :
 PURDUE PHARMA, L.P., et al.,                :
                                             :
                           Defendants.       :

                                       CERTIFICATION

       Pursuant to the Court’s Order entered on October 4, 2024, and the Court’s instructions

relayed to Counsel from the status conference on October 17, 2024, Counsel hereby certifies that

the information filed in ECF No. 5589-1 regarding the Butler County Board of Commissioners,

Ohio, remains true and accurate regarding the issuance of a litigation hold. Please note that ECF

No. 5589-1 provided that the litigation hold was implemented on July 18, 2018, but the true and

accurate date is July 11, 2018. In addition, Counsel makes this confirmation based upon memory

of the discussion with various county department heads and our fielding questions from them about

the extent of the hold. Unfortunately, after moving firms and changing document management

systems on numerous occasions, a hard copy of the litigation hold distributed at the meeting was

unable to be located. In an abundance of caution, Counsel re-issued a litigation hold with Butler

County departments heads on September 13, 2024.



Date: October 23, 2024                      Respectfully submitted,

                                            _/s/ Mark H. Troutman__________________
                                            Mark H. Troutman (0076390), Trial Attorney
 Case: 1:17-md-02804-DAP Doc #: 5705 Filed: 10/23/24 2 of 2. PageID #: 648896




                                             Shawn Judge (0069493)
                                             GIBBS LAW GROUP LLP
                                             1554 Polaris Parkway, Suite 325
                                             Columbus, Ohio 43240
                                             Ohio Direct: (614) 908-4081
                                             California Direct: (510) 340-4214
                                             Mobile Phone: (614) 638-7376
                                             Fax: (510) 350-9701
                                             mht@classlawgroup.com
                                             skj@classlawgroup.com


                                             Attorneys for Plaintiff Butler County Board of
                                             Commissioners, Ohio



                                CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2024, a copy of the foregoing CERTIFICATION

was filed electronically. Service of this filing will be made on all ECF-registered counsel by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                             _/s/ Mark H. Troutman__________________
                                             Mark H. Troutman (0076390), Trial Attorney




                                                 2
